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          STATEMENT REGARDING CASH RECEIPTS AND DISBURSEMENTS

         Debtor’s cash receipts and disbursements exhibits reflect all cash movement between
  accounts and not only monies to/from third parties.


                     EXHIBIT A TO MONTHLY OPERATING REPORT

  Question No. 5: Debtor is in the process of having its accounts at Chase Bank designated as debtor
  in possession accounts.
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                       EXHIBIT B TO MONTHLY OPERATING REPORT

  Question No. 10: Debtor is in the process of having its accounts at Chase Bank designated as
  debtor in possession accounts.

  Question No. 12: Debtor provides services to National Research and Polling Group, a related
  entity.

  Question No. 18: Pre-petition checks cleared post-petition:

                                                        Date of       Date
   Payee                                    Amount      Check         Cleared      Description

   Dagostino Electric Services              11,703.20     9/21/2023    9/27/2023

   Perlman & Perlman LLP                    350.00        9/21/2023    9/27/2023

   BankDirect                               2,994.29      9/21/2023    9/28/2023

   Comcast                                  736.46        9/21/2023    10/2/2023

   BankDirect                               3,423.48      9/21/2023    10/4/2023

   Rebecca Simbeck                          40.19         9/22/2023    9/27/2023 Wages

   Nebraska Child Support Payment Center    25.00         9/22/2023    10/2/2023 Wages

   Clerk of the Combined Court              1.99          9/22/2023    10/5/2023 Wages

   Datamentors                              801.32        9/21/2023    9/27/2023

   Riverstar                                560.00        9/21/2023    9/29/2023

   Incontact                                4,969.66      9/21/2023    9/29/2023

   Family Support Registry                  300.00        9/22/2023    10/2/2023 Wages

   Mark A Leachman PC                       186.81        9/22/2023    10/4/2023 Wages

   Clerk of the Combined Court              83.22         9/22/2023    10/5/2023 Wages
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                                                           EXHIBIT C
CREDIT
CREDIT

CREDIT

CREDIT

CREDIT

CREDIT
CREDIT
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                                                           EXHIBIT D
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Vendor                        Date of Invoice Due Date of Invoice Amount             Purpose of Debt
Datamentors                         9/27/2023          10/27/2023             196.92 Trade-debt, software services
Datamentors                         9/27/2023          10/27/2023             175.56 Trade-debt, software services
Datamentors                         9/29/2023          10/29/2023           2,973.85 Trade-debt, software services
CT Corporation                      10/1/2023           10/1/2023              81.94 Trade-debt, registered agent services
Bank Direct Capital Finance        10/12/2023          10/22/2023           1,025.51 Trade-debt, insurance installments
Perlman & Perlman                  10/20/2023          10/20/2023           5,405.00 Trade-debt, registration expenses
Perlman & Perlman                  10/24/2023          10/24/2023           6,850.00 Trade-debt, surety bonds
Ring Central Inc                   10/25/2023          11/24/2023              90.74 Trade-debt, software services
Datamentors                        10/27/2023          11/27/2023             199.84 Trade-debt, software services
BSL Gem Laser Express              10/31/2023          11/30/2023             139.05 Trade-debt, Office services
All Copy Products                  10/31/2023          11/30/2023             325.43 Trade-debt, Office services
Cloudnexa Inc                      10/31/2023          11/30/2023           1,156.91 Trade-debt, software services
Toly Digital Networks LLC           11/1/2023          11/22/2023             767.42 Trade-debt, software services
NICE                                11/1/2023          11/30/2023           3,936.04 Trade-debt, software services
Ring Central Inc                    11/4/2023           12/4/2023           1,785.57 Trade-debt, software services
Copilevitz, Lam & Raney             11/6/2023           11/6/2023             130.50 Trade-debt, legal representation for special counsel
Datamentors                         11/8/2023           12/8/2023             196.86 Trade-debt, software services
Datamentors                         11/8/2023           12/8/2023             294.94 Trade-debt, software services
                                                                           25,732.08




                                                                                                                 EXHIBIT E
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Public Interest Communications a Division of Signia                                                                                                       1:52 PM

A/R Aging Detail                                                                                                                                        11/13/2023
As of October 31, 2023
                         Type        Date         Num          P. O. #         Name          Terms        Due Date       Class         Aging        Open Balance
Current
                    Invoice        10/06/2023 23-0421      PPFA-S-S         PPFA - Planned
                                                                                         Net
                                                                                           Parenthood
                                                                                             30       Federation:PPFA
                                                                                                        11/05/2023 PIC- -Planned
                                                                                                                          PA     Parenthood OB            1,821.54
                    Invoice        10/06/2023 23-0422      PPAF-S-S         PPAF - Planned
                                                                                         Net
                                                                                           Parenthood
                                                                                             30       Action:PPAF
                                                                                                        11/05/2023- PIC
                                                                                                                    Planned
                                                                                                                        - PA Parenthood OB                1,475.88
                    Invoice        10/06/2023 23-0423      Americares IB    ACARE - Americares
                                                                                       Net 30 Foundation
                                                                                                       11/05/2023
                                                                                                         - 20:ACARE
                                                                                                                  PIC- -Americares
                                                                                                                         SLC       Foundation - IB        2,348.80
                    Invoice        10/06/2023 23-0426      APDA-Inbound     APDA - American
                                                                                        Net Parkinson
                                                                                            30        Disease
                                                                                                        11/05/2023
                                                                                                              - 20:APDA
                                                                                                                    PIC - -SLC
                                                                                                                            American Parkinson's - IB     4,941.30
                    Invoice        10/06/2023 23-0427      DCCC-Inbound     DCCC Need New
                                                                                       Net OB
                                                                                           30 Contract:DCCC-21
                                                                                                       11/05/2023IBPIC - SLC                              3,616.36
                    Invoice        10/06/2023 23-0431      Nation-Inbound   Nation Magazine:Nation
                                                                                         Net 30    Magazine
                                                                                                        11/05/2023
                                                                                                            - IB   PIC - SLC                              1,267.12
                    Invoice        10/06/2023 23-0433      PP-Inbound       PPFA - Planned
                                                                                         Net
                                                                                           Parenthood
                                                                                             30       Federation:PPFA
                                                                                                        11/05/2023 PIC- -Planned
                                                                                                                          SLC    Parenthood F-IB         14,278.64
                    Invoice        10/06/2023 23-0434      Nation-RE        Nation Magazine:Nation
                                                                                         Net 30    Magazine
                                                                                                        11/05/2023
                                                                                                            - OB   PIC - PA                               2,420.01
                    Invoice        10/06/2023 23-0437                       MSF - DoctorsNet
                                                                                         Without
                                                                                             30 Borders11/05/2023 PIC - PA                                3,530.94
                    Invoice        10/06/2023 23-0439                       MSF - DoctorsNet
                                                                                         Without
                                                                                             30 Borders11/05/2023 PIC - PA                                 985.60
                    Invoice        10/11/2023 23-0444                       MSF - DoctorsNet
                                                                                         Without
                                                                                             30 Borders11/10/2023 PIC - PA                                2,375.52
                    Invoice        10/11/2023 23-0445                       MSF - DoctorsNet
                                                                                         Without
                                                                                             30 Borders11/10/2023 PIC - PA                                1,480.50
                    Invoice        10/11/2023 23-0446                       MSF - DoctorsNet
                                                                                         Without
                                                                                             30 Borders11/10/2023 PIC - PA                                 390.60
                    Invoice        10/11/2023 23-0447                       MSF - DoctorsNet
                                                                                         Without
                                                                                             30 Borders11/10/2023 PIC - PA                                 246.40
                    Invoice        10/18/2023 23-0448      PP-Inbound       PPFA - Planned
                                                                                         Net
                                                                                           Parenthood
                                                                                             30       Federation:PPFA
                                                                                                        11/17/2023 PIC- -Planned
                                                                                                                          SLC    Parenthood F-IB         15,563.91
                    Invoice        10/18/2023 23-0449      PPFA-S-S         PPFA - Planned
                                                                                         Net
                                                                                           Parenthood
                                                                                             30       Federation:PPFA
                                                                                                        11/17/2023 PIC- -Planned
                                                                                                                          PA     Parenthood OB            2,005.92
                    Invoice        10/18/2023 23-0450      PPAF-S-S         PPAF - Planned
                                                                                         Net
                                                                                           Parenthood
                                                                                             30       Action:PPAF
                                                                                                        11/17/2023- PIC
                                                                                                                    Planned
                                                                                                                        - PA Parenthood OB                2,230.62
                    Invoice        10/18/2023 23-0451                       MSF - DoctorsNet
                                                                                         Without
                                                                                             30 Borders11/17/2023 PIC - PA                                1,084.44
                    Invoice        10/18/2023 23-0452      DOW-S-S          DOW - Defenders
                                                                                        Net 30
                                                                                            of Wildlife:DOW
                                                                                                         11/17/2023
                                                                                                             - Defenders
                                                                                                                    PIC -ofPA
                                                                                                                            Wildlife - OB                   74.70
                    Invoice        10/18/2023 23-0453                       MSF - DoctorsNet
                                                                                         Without
                                                                                             30 Borders11/17/2023 PIC - PA                                1,247.82
                    Invoice        10/18/2023 23-0454                       MSF - DoctorsNet
                                                                                         Without
                                                                                             30 Borders11/17/2023 PIC - PA                                 219.24
                    Invoice        10/18/2023 23-0455      MSF-SA           MSF - DoctorsNet
                                                                                         Without
                                                                                             30 Borders:MSF
                                                                                                       11/17/2023
                                                                                                             - Doctors
                                                                                                                   PIC Without
                                                                                                                       - PA    Borders - OB                387.20
                    Invoice        10/25/2023 23-0456      DOW-S-S          DOW - Defenders
                                                                                        Net 30
                                                                                            of Wildlife:DOW
                                                                                                         11/24/2023
                                                                                                             - Defenders
                                                                                                                    PIC -ofPA
                                                                                                                            Wildlife - OB                  688.90
                    Invoice        10/25/2023 23-0458      MSF-SA           MSF - DoctorsNet
                                                                                         Without
                                                                                             30 Borders:MSF
                                                                                                       11/24/2023
                                                                                                             - Doctors
                                                                                                                   PIC Without
                                                                                                                       - PA    Borders - OB               1,654.40
                    Invoice        10/25/2023 23-0459                       MSF - DoctorsNet
                                                                                         Without
                                                                                             30 Borders11/24/2023 PIC - PA                                3,872.82
                    Invoice        10/25/2023 23-0460                       MSF - DoctorsNet
                                                                                         Without
                                                                                             30 Borders11/24/2023 PIC - PA                                 877.80
                    Invoice        10/25/2023 23-0461                       MSF - DoctorsNet
                                                                                         Without
                                                                                             30 Borders11/24/2023 PIC - PA                                 349.44
                    Invoice        10/25/2023 23-0462                       MSF - DoctorsNet
                                                                                         Without
                                                                                             30 Borders11/24/2023 PIC - PA                                 175.56
Total Current                                                                                                                                            71,611.98
1 - 30
                    Invoice        09/20/2023 23-0408                       MSF - DoctorsNet
                                                                                         Without
                                                                                             30 Borders10/20/2023 PIC - PA                     11         1,733.60
                    Invoice        09/20/2023 23-0412      Nation-RE        Nation Magazine:Nation
                                                                                         Net 30    Magazine
                                                                                                        10/20/2023
                                                                                                            - OB   PIC - PA                    11          280.83
                    Invoice        09/27/2023 23-0414      Nation-RE        Nation Magazine:Nation
                                                                                         Net 30    Magazine
                                                                                                        10/27/2023
                                                                                                            - OB   PIC - PA                    4          2,695.95
                    Invoice        09/27/2023 23-0416                       MSF - DoctorsNet
                                                                                         Without
                                                                                             30 Borders10/27/2023 PIC - PA                     4          2,631.20
Total 1 - 30                                                                                                                                              7,341.58
31 - 60
Total 31 - 60
61 - 90
Total 61 - 90
> 90
                    Credit Memo    12/01/2021 21-1629                       NARAL - NARAL Prochoice America:NARAL
                                                                                                      08/20/2021 PIC
                                                                                                                   - NARAL
                                                                                                                      - PA Pro-Choice -802
                                                                                                                                        OB              -17,458.90
                    Payment        10/08/2021 21-1450                       NTHP - National Trust for Historic Preser                                   -20,468.20
                    General Journal 10/17/2021 Postage                      DCCC Need New OB Contract                                                         0.03
                    Payment        02/17/2022 chk#675024                    NPF - National Park Foundation 19                                              -583.75
                    Check          03/25/2022 8347                          NTHP - National Trust for Historic Preser                                    20,468.20
                    Payment        02/27/2023 #2.27                         NPF - National Park Foundation 19                                           -20,025.15
Total > 90                                                                                                                                              -38,067.77
TOTAL                                                                                                                                                    40,885.79




                                                                                                                    EXHIBIT F
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Signia, LTD.                                                                                                                             1:56 PM

A/R Aging Detail                                                                                                                       11/13/2023
As of October 31, 2023
                         Type        Date           Num   P. O. #      Name           Terms         Due Date     Class   Aging      Open Balance
Current
Total Current
1 - 30
Total 1 - 30
31 - 60
Total 31 - 60
61 - 90
Total 61 - 90
> 90
                    Invoice        11/02/2010 305                   Carr MarketingNet 15            11/17/2010              4,731       13,395.66
                    Deposit        12/03/2010                       Carr Marketing                                                      -13,395.66
                    Invoice        12/29/2010 341                   Qwest          Due on receipt 12/29/2010                4,689           22.47
                    Invoice        01/31/2011 342                   Qwest          Due on receipt 01/31/2011                4,656           79.41
                    Invoice        02/28/2011 343                   Qwest          Due on receipt 02/28/2011                4,628           36.51
                    Deposit        06/02/2011                       Carr Marketing                                                       -3,752.00
                    Invoice        05/30/2011 362                   Carr MarketingNet 15            06/14/2011              4,522        3,752.00
                    Invoice        06/07/2011 365                   Carr MarketingNet 7             06/14/2011              4,522        2,576.00
                    Deposit        06/17/2011                       Carr Marketing                                                       -4,200.00
                    Deposit        06/22/2011                       Carr Marketing                                                       -2,576.00
                    Deposit        06/24/2011                       Jencyn                                                               -5,745.00
                    Invoice        06/12/2011 369                   Carr MarketingNet 15            06/27/2011              4,509        4,200.00
                    Invoice        03/07/2012 531                   Get Out The Vote
                                                                                 Due on receipt 03/07/2012                  4,255          978.06
                    Invoice        07/13/2012 623                   Sandy PernickNet 15             07/28/2012              4,112        2,945.80
                    Invoice        10/20/2012 764                   Jencyn         Net 7            10/27/2012              4,021        5,745.00
                    Invoice        11/08/2012 741                   Political Connection
                                                                                   Due on receipt 11/08/2012                4,009       30,109.07
                    Invoice        11/08/2012 747                   Get Out The Vote
                                                                                 Due on receipt 11/08/2012                  4,009        4,141.28
                    Invoice        11/08/2012 746                   Get Out The Vote
                                                                                 Due on receipt 11/08/2012                  4,009       11,346.42
                    Invoice        11/08/2012 742                   Political Connection
                                                                                   Due on receipt 11/08/2012                4,009        9,555.39
                    Invoice        04/29/2013 940                   Jencyn         Net 7            05/06/2013              3,830          495.00
                    Invoice        05/13/2013 941                   Jencyn         Net 7            05/20/2013              3,816        1,505.00
                    Invoice        05/27/2013 942                   Jencyn         Net 7            06/03/2013              3,802       23,725.00
                    Invoice        06/10/2013 943                   Jencyn         Net 7            06/17/2013              3,788       23,725.00
                    Invoice        06/24/2013 944                   Jencyn         Net 7            07/01/2013              3,774       28,080.00
                    Invoice        07/08/2013 945                   Jencyn         Net 7            07/15/2013              3,760       18,015.00
                    General Journal 07/31/2013 7-31-13              Political Robocalls (Collections)                                   83,498.52
                    Invoice        09/02/2013 Inv. #949             Jencyn         Net 7            09/09/2013              3,704       16,540.00
                    Invoice        09/16/2013 Inv. #950             Jencyn         Net 7            09/23/2013              3,690       14,847.60
                    Invoice        09/30/2013 Inv. #951             Jencyn         Net 7            10/07/2013              3,676       15,110.00
                    Invoice        10/14/2013 Inv. #952             Jencyn         Net 7            10/21/2013              3,662       13,740.00
                    Invoice        10/28/2013 Inv. #953             Jencyn         Net 7            11/04/2013              3,648       13,095.00
                    Invoice        11/11/2013 Inv. #954             Jencyn         Net 7            11/18/2013              3,634       10,902.60
                    Invoice        11/05/2013 1097                  Portable Insights
                                                                                   Net 15           11/20/2013              3,632        8,686.00
                    Invoice        11/05/2013 1095                  Portable Insights
                                                                                   Net 15           11/20/2013              3,632       13,086.20
                    Invoice        11/15/2013 1106                  Portable Insights
                                                                                   Net 15           11/30/2013              3,622        1,531.68
                    Invoice        11/25/2013 Inv. #955             Jencyn         Net 7            12/02/2013              3,620        9,970.00
                    Invoice        12/09/2013 Inv. #956             Jencyn         Net 7            12/16/2013              3,606       10,360.00
                    Invoice        12/17/2013 1154                  Portable Insights
                                                                                   Due on receipt 12/17/2013                3,605          450.00
                    Invoice        12/17/2013 1156                  Portable Insights
                                                                                   Due on receipt 12/17/2013                3,605        1,922.30
                    Invoice        12/23/2013 Inv. #957             Jencyn         Net 7            12/30/2013              3,592       10,052.80
                    Invoice        01/03/2014 1163                  Portable Insights
                                                                                   Due on receipt 01/03/2014                3,588        1,877.70
                    Invoice        01/03/2014 1164                  Portable Insights
                                                                                   Due on receipt 01/03/2014                3,588          907.90
                    Invoice        01/03/2014 1165                  Vision Trust   Due on receipt 01/03/2014                3,588          684.00
                    Invoice        01/06/2014 Inv. #958             Jencyn         Net 7            01/13/2014              3,578        4,860.00
                    Invoice        01/20/2014 Inv. #959             Jencyn         Net 7            01/27/2014              3,564        2,060.00
                    Invoice        02/03/2014 Inv. #960             Jencyn         Net 7            02/10/2014              3,550        1,790.00
                    Invoice        03/24/2014 Inv. #995             Get Out The Vote
                                                                                 Net 7              03/31/2014              3,501          516.96
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           Invoice       03/24/2014 Inv. #994    Get Out The Vote
                                                              Net 7             03/31/2014   3,501      632.70
           Invoice       03/24/2014 Inv. #991    Get Out The Vote
                                                              Net 7             03/31/2014   3,501    1,474.48
           Invoice       03/24/2014 Inv. #992    Get Out The Vote
                                                              Net 7             03/31/2014   3,501      672.98
           Invoice       03/24/2014 Inv. #993    Get Out The Vote
                                                              Net 7             03/31/2014   3,501    3,077.56
           Invoice       05/08/2014 Inv. #1043   CHISM Strategies
                                                              Net 7             05/15/2014   3,456      336.21
           Invoice       05/13/2014 Inv. #1053   CHISM Strategies
                                                              Net 7             05/20/2014   3,451    1,328.88
           Invoice       05/13/2014 Inv. #1050   CHISM Strategies
                                                              Net 7             05/20/2014   3,451    1,698.90
           Invoice       05/13/2014 Inv. #1051   CHISM Strategies
                                                              Net 7             05/20/2014   3,451    1,915.41
           Invoice       05/13/2014 Inv. #1052   CHISM Strategies
                                                              Net 7             05/20/2014   3,451    1,774.71
           Invoice       05/13/2014 Inv. #1054   CHISM Strategies
                                                              Net 7             05/20/2014   3,451      319.20
           Invoice       05/23/2014 Inv. #1077   INTELLEWORK
                                                           Net 7                05/30/2014   3,441      839.00
           Payment       06/26/2014 3999809599   Jencyn                                               -1,180.00
           Invoice       06/24/2014 Inv. #1134   INTELLEWORK
                                                           Net 7                07/01/2014   3,409    1,534.08
           Invoice       06/24/2014 Inv. #1133   INTELLEWORK
                                                           Net 7                07/01/2014   3,409    2,392.27
           Invoice       06/25/2014 Inv. #1147   Get Out The Vote
                                                              Net 7             07/02/2014   3,408      905.08
           Payment       07/10/2014 4027489943   Jencyn                                               -6,000.00
           Invoice       07/24/2014 Inv. #1171   Get Out The Vote
                                                              Net 7             07/31/2014   3,379      408.50
           Invoice       07/24/2014 Inv. #1170   Get Out The Vote
                                                              Net 7             07/31/2014   3,379      400.52
           Invoice       07/25/2014 Inv. #1179   Get Out The Vote
                                                              Net 7             08/01/2014   3,378    3,321.20
           Invoice       09/14/2014 Inv. #1215   Get Out The Vote
                                                              Net 7             09/21/2014   3,327      261.82
           Deposit       10/30/2014              Get Out The Vote                                      -192.11
           Invoice       10/27/2014 Inv. #1347   FLS           Net 7            11/03/2014   3,284    1,235.01
           Invoice       10/27/2014 Inv. #1346   FLS           Net 7            11/03/2014   3,284    1,882.86
           Invoice       10/27/2014 Inv. #1340   Get Out The Vote
                                                              Net 7             11/03/2014   3,284   12,845.50
           Invoice       10/27/2014 Inv. #1345   EPIC          Net 7            11/03/2014   3,284    1,207.92
           Invoice       10/27/2014 Inv. #1348   FLS           Net 7            11/03/2014   3,284    1,689.24
           Invoice       11/05/2014 Inv. #1425   Unlimited Marketing
                                                              Net 7 Enterprises11/12/2014
                                                                                Inc.         3,275    7,758.00
           Invoice       11/05/2014 Inv. #1428   Unlimited Marketing
                                                              Net 7 Enterprises11/12/2014
                                                                                Inc.         3,275   11,489.94
           Invoice       11/05/2014 Inv. #1426   Unlimited Marketing
                                                              Net 7 Enterprises11/12/2014
                                                                                Inc.         3,275    6,640.74
           Invoice       11/05/2014 Inv. #1427   Unlimited Marketing
                                                              Net 7 Enterprises11/12/2014
                                                                                Inc.         3,275    4,618.98
           Invoice       11/05/2014 Inv. #1424   Unlimited Marketing
                                                              Net 7 Enterprises11/12/2014
                                                                                Inc.         3,275   18,948.60
           Invoice       11/05/2014 Inv. #1429   Unlimited Marketing
                                                              Net 7 Enterprises11/12/2014
                                                                                Inc.         3,275   10,720.98
           Invoice       12/16/2014 Inv. #1481   FLS           Net 7            12/23/2014   3,234      250.74
           Invoice       12/16/2014 Inv. #1475   Get Out The Vote
                                                              Net 7             12/23/2014   3,234    2,613.52
           Invoice       12/16/2014 Inv. #1482   FLS           Net 7            12/23/2014   3,234      166.11
           Invoice       12/16/2014 Inv. #1476   Get Out The Vote
                                                              Net 7             12/23/2014   3,234    2,470.76
           Invoice       12/16/2014 Inv. #1477   Get Out The Vote
                                                              Net 7             12/23/2014   3,234      810.92
           Invoice       12/16/2014 Inv. #1480   FLS           Net 7            12/23/2014   3,234    4,529.70
           Invoice       12/16/2014 Inv. #1478   FLS           Net 7            12/23/2014   3,234    1,241.94
           Invoice       12/16/2014 Inv. #1479   FLS           Net 7            12/23/2014   3,234      701.19
           Payment       12/29/2014 1140         Unlimited Marketing Enterprises Inc.                -22,749.66
           Payment       12/29/2014 1211         Unlimited Marketing Enterprises Inc.                -26,706.60
           Credit Memo   12/31/2014 Inv. #1487   Unlimited Marketing
                                                              Net 7 Enterprises01/07/2015
                                                                                Inc.         3,219    -8,374.68
           Invoice       03/05/2015 1300         DMMAZ (Direct
                                                             Due
                                                               Marketing
                                                                 on receipt
                                                                         Media
                                                                             03/05/2015
                                                                               LLC)          3,162    1,077.08
           Payment       03/24/2015 1406         Unlimited Marketing Enterprises Inc.                 -2,346.30
           Invoice       04/26/2015 1302         DMMAZ (Direct
                                                             Due
                                                               Marketing
                                                                 on receipt
                                                                         Media
                                                                             04/26/2015
                                                                               LLC)          3,110    9,128.41
           Invoice       05/19/2015 1057         Get Out The Vote
                                                              Net 7             05/26/2015   3,080      161.11
           Invoice       06/30/2015 1090         Get Out The Vote
                                                              Net 7             07/07/2015   3,038    4,144.02
           Invoice       06/30/2015 1091         Ivel Turner   Net 7            07/07/2015   3,038    1,282.50
           Invoice       07/07/2015 1099         Ivel Turner   Net 7            07/14/2015   3,031    1,033.79
           Invoice       07/14/2015 1112         Ivel Turner   Net 7            07/21/2015   3,024      230.66
           Invoice       09/15/2015 1169         Get Out The Vote
                                                              Net 7             09/22/2015   2,961      603.82
           Invoice       09/15/2015 1170         Get Out The Vote
                                                              Net 7             09/22/2015   2,961      467.78
           Invoice       10/28/2015 1354         Get Out The Vote
                                                              Net 7             11/04/2015   2,918      117.32
           Invoice       11/17/2015 1519         Get Out The Vote
                                                              Net 7             11/24/2015   2,898      312.76
           Invoice       11/17/2015 1518         Get Out The Vote
                                                              Net 7             11/24/2015   2,898      764.38
           Invoice       11/17/2015 1517         Get Out The Vote
                                                              Net 7             11/24/2015   2,898      286.90
           Invoice       12/10/2015 1595         Ogden Technology
                                                             Net 7Group         12/17/2015   2,875        0.01
           Invoice       01/21/2016 1631         Ogden Technology
                                                             Net 7Group         01/28/2016   2,833    1,482.00
           Invoice       02/01/2016 1744         DMMAZ (Direct
                                                             Net
                                                               Marketing
                                                                 7       Media
                                                                             02/08/2016
                                                                               LLC)          2,822   27,880.00
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           Invoice       06/16/2016 2194          MindTouch, Inc.
                                                               Net 7           06/23/2016    2,686      426.10
           Invoice       07/15/2016 2293          MindTouch, Inc.
                                                               Net 7           07/22/2016    2,657      701.00
           Invoice       07/15/2016 2292          MindTouch, Inc.
                                                               Net 7           07/22/2016    2,657     1,101.15
           Invoice       09/08/2016 2370          PoliticalRobocalls
                                                                Due on receipt 09/08/2016    2,609     3,554.45
           Invoice       09/08/2016 2372          PoliticalRobocalls
                                                                Due on receipt 09/08/2016    2,609     1,168.88
           Invoice       09/08/2016 2371          PoliticalRobocalls
                                                                Due on receipt 09/08/2016    2,609      540.75
           Invoice       09/08/2016 2373          PoliticalRobocalls
                                                                Due on receipt 09/08/2016    2,609      397.59
           Invoice       09/30/2016 2394          Health Wellness,
                                                               NetLLC
                                                                   30          10/30/2016    2,557    10,064.65
           Credit Memo   11/11/2016 2436          PoliticalRobocalls
                                                                Due on receipt 11/11/2016    2,545    -4,879.89
           Invoice       12/30/2016 2456          Health Wellness,
                                                               NetLLC
                                                                   30          01/29/2017    2,466    41,207.25
           Invoice       01/31/2017 2466          Health Wellness,
                                                               NetLLC
                                                                   30          03/02/2017    2,434    10,465.35
           Invoice       02/28/2017 2484          Health Wellness,
                                                               NetLLC
                                                                   30          03/30/2017    2,406    16,087.50
           Invoice       03/30/2017 2479          Health Wellness,
                                                               NetLLC
                                                                   30          04/29/2017    2,376     8,215.50
           Invoice       04/30/2017 2491          Health Wellness,
                                                               NetLLC
                                                                   30          05/30/2017    2,345     7,296.15
           Invoice       05/31/2017 2514          Health Wellness,
                                                               NetLLC
                                                                   30          06/30/2017    2,314    15,059.85
           Invoice       06/30/2017 2532          Health Wellness,
                                                               NetLLC
                                                                   7           07/07/2017    2,307      108.90
           Invoice       07/31/2017 2567          Health Wellness,
                                                               NetLLC
                                                                   7           08/07/2017    2,276      933.60
           Invoice       08/12/2017 2560          Fraktle LLC   Net 7          08/19/2017    2,264     7,462.87
           Invoice       08/31/2017 2568          Health Wellness,
                                                               NetLLC
                                                                   7           09/07/2017    2,245     5,030.40
           Invoice       09/08/2017 2569          Medicus Healthcare
                                                               Net 7 Solutions, LLC.
                                                                                09/15/2017   2,237     2,126.81
           Deposit       09/18/2017 65727002677   Health Wellness, LLC                               -50,000.00
           Invoice       09/30/2017 2581          Health Wellness,
                                                               NetLLC
                                                                   7           10/07/2017    2,215     1,205.10
           Invoice       10/31/2017 2582          Health Wellness,
                                                               NetLLC
                                                                   7           11/07/2017    2,184      602.85
           Invoice       11/30/2017 2583          Health Wellness,
                                                               NetLLC
                                                                   7           12/07/2017    2,154      298.95
           Invoice       12/31/2017 2593          Health Wellness,
                                                               NetLLC
                                                                   7           01/07/2018    2,123         7.20
           Invoice       01/31/2018 2625          Health Wellness,
                                                               NetLLC
                                                                   7           02/07/2018    2,092      159.90
           Invoice       01/31/2018 2643          AT&T          Net 7          02/07/2018    2,092         0.13
           Invoice       01/31/2018 2642          AT&T          Net 7          02/07/2018    2,092         0.13
           Invoice       01/31/2018 2644          AT&T          Net 7          02/07/2018    2,092         0.13
           Invoice       02/28/2018 2649          AT&T          Net 7          03/07/2018    2,064    56,034.99
           Invoice       02/28/2018 2651          AT&T          Net 7          03/07/2018    2,064    14,215.77
           Invoice       02/28/2018 2650          AT&T          Net 7          03/07/2018    2,064    23,920.19
           Deposit       05/15/2018               Health Wellness, LLC                               -20,000.00
           Invoice       01/01/2019 2779          Call Center Finance
                                                                Due onLLC
                                                                       receipt 01/01/2019    1,764     9,126.59
           Invoice       04/01/2019 2783          Call Center Finance
                                                                Due onLLC
                                                                       receipt 04/01/2019    1,674     1,562.72
           Invoice       07/01/2019 2852          Call Center Finance
                                                                Due onLLC
                                                                       receipt 07/01/2019    1,583     1,722.24
           Invoice       09/09/2019 2859          Call Center Finance
                                                                Due onLLC
                                                                       receipt 09/09/2019    1,513      801.39
           Invoice       10/17/2019 2883          Call Center Finance
                                                                Due onLLC
                                                                       receipt 10/17/2019    1,475      175.00
           Invoice       01/09/2020 2918          Call Center Finance
                                                                Due onLLC
                                                                       receipt 01/09/2020    1,391      350.00
                                                                                                     655,040.15
                                                                                                     655,040.15
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                        Signia, LTD.                                                                                        9:07 AM

         Combined Balance Sheet                                                                                          11/20/2023
                  As of October 31, 2023                                                                                Cash Basis
                                                            Signia, LTD.
                                                                      Public Interest Communications a Division of Signia TOTAL
ASSETS
    Current Assets
         Checking/Savings
              1012 · Checking - Chase 8867                     -12,940.18                                      0.00      -12,940.18
              1014 · Checking - Chase 5100                      -1,526.79                                      0.00        -1,526.79
              1019 · Checking - Chase 3771                          4.45                                       0.00            4.45
              1008 · Chase 9198 - Checking                          0.00                                   1,246.56        1,246.56
              1018 · Chase 9222 - Checking                          0.00                                  16,753.55       16,753.55
         Total Checking/Savings                                -14,462.52                                 18,000.11        3,537.59
         Accounts Receivable
              1210 · Accounts Receivable                    -1,227,743.41                                 -20,608.87   -1,248,352.28
              1211 · Accounts Receivable Adjustment          1,224,897.94                                      0.00    1,224,897.94
         Total Accounts Receivable                              -2,845.47                                 -20,608.87     -23,454.34
         Other Current Assets
              1800 · Intercompany Receivables
                   1803 · Due from NRPG                       516,163.16                                       0.00      516,163.16
                   1805 · Due from JAFT Ventures LLC            2,406.33                                       0.00        2,406.33
                   1811 · Due from PIC                        -199,044.64                                      0.00     -199,044.64
              Total 1800 · Intercompany Receivables           319,524.85                                       0.00      319,524.85
              Account for Credit Transfer                           0.00                                    -107.52         -107.52
              1400 · Prepaid Expense                                0.00                                  46,722.14       46,722.14
              1700 · Security Deposit                               0.00                                   4,085.67        4,085.67
         Total Other Current Assets                           319,524.85                                  50,700.29      370,225.14
    Total Current Assets                                      302,216.86                                  48,091.53      350,308.39
    Fixed Assets
         1540 · Equipment - IT
              1541 · Original Cost                                -209.44                                      0.00         -209.44
              1540 · Equipment - IT - Other                   206,520.31                                  15,839.29      222,359.60
         Total 1540 · Equipment - IT                          206,310.87                                  15,839.29      222,150.16
         1550 · Furniture & Fixtures
              1551 · Original Cost                                -323.67                                      0.00         -323.67
              1550 · Furniture & Fixtures - Other              71,159.72                                  50,000.00      121,159.72
         Total 1550 · Furniture & Fixtures                     70,836.05                                  50,000.00      120,836.05
         1600 · Accumulated Depreciation                      -226,839.00                                      0.00     -226,839.00
    Total Fixed Assets                                         50,307.92                                  65,839.29      116,147.21
    Other Assets
         1951 · Security Deposits                               5,330.92                                       0.00        5,330.92
         1360 · Employee Advance                                    0.00                                     200.00          200.00
         1580 · Goodwill                                            0.00                                 550,000.00      550,000.00
   Total Other Assets                                           5,330.92                                 550,200.00      555,530.92
TOTAL ASSETS                                                  357,855.70                                 664,130.82    1,021,986.52
LIABILITIES & EQUITY
    Liabilities
         Current Liabilities
              Accounts Payable
                   2100 · Accounts Payable                        -159.03                                  8,753.61        8,594.58
              Total Accounts Payable                              -159.03                                  8,753.61        8,594.58
              Other Current Liabilities
                   2200 · Payroll Liabilities
                       2230 · Health Insurance Payable          7,182.70                                  52,016.70       59,199.40
                       2260 · Garnishment Payable                 491.14                                   1,357.67        1,848.81
                       2280 · Live Check Payable               12,836.24                                       0.00       12,836.24
                       2200 · Payroll Liabilities - Other       4,159.30                                  31,971.63       36,130.93
                   Total 2200 · Payroll Liabilities            24,669.38                                  85,346.00      110,015.38
                   2704 · SBA EIDL Loan                       134,444.00                                       0.00      134,444.00
                   2800 · Intercompany Payables
                       2801 · Due to Sulit Group Ltd.         863,786.32                               1,264,118.83    2,127,905.15
                       2814 · Due to DialCloud LLC              5,400.00                                       0.00        5,400.00
                       2816 · INTERCOMPANY                    -462,870.72                                462,870.72            0.00
                       2817 · Due to NRPG                     187,479.32                                       0.00      187,479.32
                       2818 · Due to Sunlight Support             158.73                                       0.00          158.73
                       2803 · Due to NRPG                           0.00                                 417,563.78      417,563.78
                       2804 · Due to Signia Ltd.                    0.00                                -142,723.42     -142,723.42
                   Total 2800 · Intercompany Payables         593,953.65                               2,001,829.91    2,595,783.56
                   2120 · Settlement Payable - Male Excel           0.00                               2,051,745.00    2,051,745.00
              Total Other Current Liabilities                 753,067.03                               4,138,920.91    4,891,987.94
         Total Current Liabilities                            752,908.00                               4,147,674.52    4,900,582.52
         Long Term Liabilities




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                                                    Signia, LTD.
                                                              Public Interest Communications a Division of Signia TOTAL
             2700 · Notes Payable
                  2140 · Escrow - Pending Escheat     169,194.82                                       0.00      169,194.82
             Total 2700 · Notes Payable               169,194.82                                       0.00      169,194.82
        Total Long Term Liabilities                   169,194.82                                       0.00      169,194.82
   Total Liabilities                                  922,102.82                               4,147,674.52    5,069,777.34
   Equity
        S Corp Carryover Equity                     -1,066,509.96                                      0.00    -1,066,509.96
        3900 · Retained Earnings                      755,412.04                               -1,275,614.29    -520,202.25
        Net Income                                    -253,149.20                              -2,207,929.41   -2,461,078.61
   Total Equity                                       -564,247.12                              -3,483,543.70   -4,047,790.82
TOTAL LIABILITIES & EQUITY                             357,855.70                                 664,130.82    1,021,986.52




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                             Signia, LTD.                                                                                           9:11 AM

               Combined Profit And Loss                                                                                           11/20/2023
                              October 2023                                                                                        Cash Basis
                                                                         Signia, LTD.
                                                                                  Public Interest Communications a Division of SigniaTOTAL
   Ordinary Income/Expense
             Income
                 4200 · Services
                      4201 · Inbound                                             0.00                                 80,497.20    80,497.20
                      4202 · Outbound                                            0.00                                 28,647.82    28,647.82
                      4203 · Sales Other                                         0.00                                    143.08       143.08
                      4200 · Services - Other                             124,000.00                                       0.00   124,000.00
                 Total 4200 · Services                                    124,000.00                                 109,288.10   233,288.10
             Total Income                                                 124,000.00                                 109,288.10   233,288.10
       Gross Profit                                                       124,000.00                                 109,288.10   233,288.10
             Expense
                 6000 · General & Admin Expense
                      6010 · Advertising Expense                                35.00                                      0.00        35.00
                      6030 · Bank Service Charges                             565.20                                       0.00       565.20
                      6070 · Insurance - General Liability
                          6070 · Insurance - General Liability - Other      -5,460.44                                      0.00     -5,460.44
                      Total 6070 · Insurance - General Liability            -5,460.44                                      0.00     -5,460.44
                      6110 · Meals & Entertainment
                          6113 · Entertainment (0%)
                              6113 · Entertainment (0%) - Other               390.00                                       0.00       390.00
                          Total 6113 · Entertainment (0%)                     390.00                                       0.00       390.00
                      Total 6110 · Meals & Entertainment                      390.00                                       0.00       390.00
                      6120 · Office Expense
                          Software                                           1,126.84                                      0.00     1,126.84
                          6120 · Office Expense - Other                       144.93                                      86.59       231.52
                      Total 6120 · Office Expense                            1,271.77                                     86.59     1,358.36
                      6200 · Payroll Expense
                          -- · Live Checks                                      89.53                                      0.00        89.53
                          6201 · Wages & Salaries                           47,832.61                                 89,980.65   137,813.26
                          6204 · Payroll Taxes                               5,803.38                                 11,084.50    16,887.88
                          6205 · Payroll Fees                                 888.00                                     950.25     1,838.25
                          6210 · Company Benefits Ins                         208.05                                   1,890.25     2,098.30
                          6211 · Company Benefits 401(k) Match                916.66                                   1,087.20     2,003.86
                          6214 · Wages & Salaries Admin                     25,416.66                                 42,899.07    68,315.73
                      Total 6200 · Payroll Expense                          81,154.89                                147,891.92   229,046.81
                      6330 · Rent
                          6330 · Rent - Other                                    0.00                                  4,380.72     4,380.72
                      Total 6330 · Rent                                          0.00                                  4,380.72     4,380.72
                      6340 · Janitorial Services                              425.00                                       0.00       425.00
                      6380 · Software/Ring Central Expense                   2,459.16                                      0.00     2,459.16
                      6400 · Utilities Expense
                          6402 · Utilities - Internet
                              6402 · Utilities - Internet - Other            1,498.86                                      0.00     1,498.86
                          Total 6402 · Utilities - Internet                  1,498.86                                      0.00     1,498.86
                          6405 · Utilities - Phone
                              6405 · Utilities - Phone - Other                   0.00                                    188.08       188.08
                          Total 6405 · Utilities - Phone                         0.00                                    188.08       188.08
                          6400 · Utilities Expense - Other                    736.46                                       0.00       736.46
                      Total 6400 · Utilities Expense                         2,235.32                                    188.08     2,423.40
                      6380 · Software Expense                                    0.00                                    440.00       440.00
                      6381 · PIC*Covoda/Nice/Noble                               0.00                                 10,804.63    10,804.63
                      6386 · V12                                                 0.00                                  1,493.86     1,493.86
                 Total 6000 · General & Admin Expense                       83,075.90                                165,285.80   248,361.70
             Total Expense                                                  83,075.90                                165,285.80   248,361.70
   Net Ordinary Income                                                      40,924.10                                -55,997.70    -15,073.60
   Other Income/Expense
       Other Income
             7000 · Other Income                                                 0.00                                  2,194.54     2,194.54
       Total Other Income                                                        0.00                                  2,194.54     2,194.54
       Other Expense
             8010 · Fines & Penalties                                        1,379.58                                      0.00     1,379.58
       Total Other Expense                                                   1,379.58                                      0.00     1,379.58
   Net Other Income                                                         -1,379.58                                  2,194.54       814.96
Net Income                                                                  39,544.52                                -53,803.16    -14,258.64




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